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               IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                            )
TIKTOK INC.,                                )
                                            )
      and                                   )
                                            )   No. 24-1113
BYTEDANCE LTD.,                             )
                                            )
                               Petitioners, )
                                            )
             v.                             )
                                            )
MERRICK B. GARLAND, in his official         )
capacity as Attorney General of the         )
United States,                              )
                                            )
                              Respondent. )
                                            )

                               STATEMENT OF ISSUES

      Pursuant to the Court’s order of May 7, 2024, Petitioners TikTok Inc. and

ByteDance Ltd. respectfully submit the following non-binding statement of the issues

presented for review, without waiving their right to modify these issues or raise

additional ones:

      1. Whether the Protecting Americans From Foreign Adversary Controlled

         Applications Act (the “Act”) violates the First Amendment.



      2. Whether the Act violates the Bill of Attainder Clause.



      3. Whether the Act violates the equal protection component of the Fifth

         Amendment’s Due Process Clause.
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     4. Whether the Act violates the Fifth Amendment’s Takings Clause.



     5. Whether the Court should declare the Act unconstitutional and enjoin its

        enforcement.




    DATED: June 6, 2024                   Respectfully submitted,

                                          /s/ Alexander A. Berengaut
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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the United States

Court of Appeals for the District of Columbia Circuit by using the appellate

CM/ECF system on June 6, 2024.

      I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.



DATED: June 6, 2024                Respectfully submitted,

                                   /s/ Alexander A. Berengaut
                                   Alexander A. Berengaut

                                   Counsel for Petitioners
